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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

CONSUMER FINANCIAL PROTECTION
BUREAU,

                Plaintiff,

      vs.                                    Civil Action No. 3:22-cv-01494-K
POPULUS FINANCIAL GROUP, INC. d/b/a
ACE CASH EXPRESS,

                Defendant.


       DEFENDANT POPULUS FINANCIAL GROUP, INC. d/b/a ACE CASH
           EXPRESS’S MOTION TO STAY AND BRIEF IN SUPPORT


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                               I.       PRELIMINARY STATEMENT

        Defendant Populus Financial Group, Inc. d/b/a ACE Cash Express (“ACE”) respectfully

moves to stay all proceedings in this case in light of recent changes in leadership impacting

Plaintiff Consumer Financial Protection Bureau (“CFPB,” or the “Bureau”). ACE wishes to make

the Court aware that these changes have resulted in a cessation of nearly all CFPB activity—

including the Bureau’s engagement with this case. A stay of this case is, therefore, necessary to

avoid wasting the Court’s and Parties’ time and resources. Accordingly, ACE respectfully requests

that the Court grant this Motion and stay all proceedings in the above-captioned matter until the

Bureau indicates how it wishes to proceed.1

               II.     RELEVANT FACTUAL AND PROCEDURAL HISTORY

        On June 27, 2024, the Court reopened this case following a stay that was lifted upon the

Supreme Court’s decision in CFPB v. Community Financial Services Association of America, Ltd.,

601 U.S. 416 (2024). Order, June 27, 2024 (ECF No. 36). In the same order reopening the case,

the Court accepted the Parties’ proposed schedule for briefing a new motion to dismiss. Id. ACE

filed its motion to dismiss for failure to state a claim on July 31, 2024. Mot. Dismiss (ECF No.

37). This motion was fully-briefed and ripe for consideration on September 13, 2024. See Reply

Mot. Dismiss (ECF No. 42). On January 22, 2025, the Court referred this motion to Magistrate

Judge Brian McKay “for hearing, if necessary, and for findings and recommendation.” Order, Jan.

22, 2025 (ECF No. 55).

        Effective January 31, 2025, the President designated Secretary of the Treasury Scott

Bessent to serve as Acting Director of the CFPB. Def. App. Ex. 1, CFPB, Statement on

Designation of Treasury Secretary Scott Bessent as Acting Director of the Consumer Financial


1
 ACE has filed an Appendix in Support of this Motion (“Appendix”). The exhibits to the Appendix are referenced
as (“Def. App. Ex.”).


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Protection Bureau (Feb. 3, 2025), https://shorturl.at/65QGG.                  Acting Director Bessent

subsequently directed counsel for the Bureau to cease enforcement activities “to promote

consistency with the goals of the administration.” Def. App. Ex. 2, App. 003, REUTERS, Trump’s

consumer watchdog freezes CFPB activity on first day of job (Feb. 3, 2025),

https://www.reuters.com/world/us/trumps-consumer-watchdog-freezes-cfpb-activity-first-day-

job-2025-02-03/. This included an instruction “not to make any appearances in litigation except

to seek a pause in proceedings.” Def. App. Ex. 3, App. 005, REUTERS, US consumer bureau won’t

defend     Biden-era     rules    in   court    after     chief      was     fired   (Feb.    3,     2025),

https://www.reuters.com/business/us-consumer-bureau-wont-defend-biden-era-rules-court-after-

chief-was-fired-2025-02-03/.

         On February 7, 2025, the President designated Russell Vought as Acting Director of the

CFPB. Def. App. Ex. 4, WALL STREET JOURNAL, Russell Vought Taking Over as New Acting

Head of CFPB (Feb. 7, 2025), https://www.wsj.com/finance/regulation/russell-vought-taking-

over-as-new-acting-head-of-cfpb-9650d338. Days later, Acting Director Vought directed CFPB

employees not to “perform any work tasks.” Def. App. Ex. 5, App. 009, REUTERS, Protest erupts

after    US   consumer    watchdog     boss    tells    staff   to   stop     work   (Feb.    10,    2025),

https://www.reuters.com/world/us/acting-cfpb-chief-tells-all-staff-cease-any-work-tasks-2025-

02-10/. The duration of this stop work directive is unknown, but reportedly will last while the

Acting Director implements new enforcement priorities. Whether the present matter is consistent

with the CFPB’s new enforcement priorities, and when that determination will be made, is also

unclear.

         Adding to the uncertainty related to the Bureau and the current enforcement action, on

February 19, 2025, the President issued an Executive Order titled, “Ensuring Lawful Governance




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And Implementing The President’s ‘Department Of Government Efficiency’ Deregulatory

Initiative.        Def.      App.      Ex.     6,    Exec.      Order      (Feb.     19,     2025),

https://www.whitehouse.gov/presidential-actions/2025/02/ensuring-lawful-governance-and-

implementing-the-presidents-department-of-government-efficiency-regulatory-initiative/.        This

Order directs agency heads, in coordination with the Department of Government Efficiency and

the Office of Management and Budget Director, to initiate a process to review all agency

regulations and rescind those deemed unconstitutional, unlawful, or overly burdensome. Id. This

includes determining, on a case-by-case basis, whether to direct the termination of “enforcement

proceedings that do not comply with the Constitution, laws, or Administration policy.” Id. at App.

014–15.

        ACE has been unable to obtain any certainty regarding the Bureau’s intentions with respect

to this matter. Indeed, CFPB’s counsel in this case has not responded to any communications from

ACE since Acting Director Vought’s directive for Bureau employees to cease all work.

                          III.     ARGUMENT AND AUTHORITIES

        The Court should exercise its inherent discretion to issue a stay until the Bureau indicates

how it wishes to proceed in this matter.

        The power to stay a case “is incidental to the power inherent in every court to control the

disposition of the causes on its docket with economy of time and effort for itself, for counsel, and

for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). Courts in this Circuit generally

consider three factors in determining whether to grant a stay: “(1) the potential prejudice to the

non-moving party if the stay is granted, (2) the potential hardship to the moving party if the stay

is denied, and (3) judicial efficiency.” Blunt v. Prospect Mortg., LLC, No. 3:13-CV-1595-P, 2013

WL 12129263, at *1 (N.D. Tex. Nov. 20, 2013) (Solis, J.).




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          As analyzed below, these factors weigh heavily in favor of granting a stay of all

proceedings in this case pending the Bureau’s decision to either continue litigating or dismiss this

matter.

   A. A Stay Would Be Efficient for the Court and the Parties.

          A stay would strongly promote the efficient resolution of this case given the CFPB’s

inability to engage with this matter. There is no reason for the Court to engage in a lengthy analysis

of ACE’s motion to dismiss (ECF No. 37) if the CFPB decides not to pursue its enforcement action

against ACE. A stay would also ensure that counsel for the Bureau can consult new leadership

regarding this matter.

          Courts in other jurisdictions have entered stays in cases involving the CFPB under similar

circumstances. See Text Order, CFPB v. Heights Finance Holding Co., Case No. 6:23-cv-4177

(D.S.C. Feb. 10, 2025) (ECF No. 109) (granting joint motion for temporary stay in light of CFPB

administration changes); Minute Entry, CFPB v. TransUnion, Case No. 1:22-cv-1880 (D. Ill. Feb.

5, 2025) (ECF No. 395) (granting stay after CFPB filed a joint status report indicating that its

counsel had been instructed not “to make or approve filings in any appearances in litigation except

to seek a pause in proceedings”).

          Thus, a stay of this matter will promote judicial efficiency while also eliminating

unnecessary expense and uncertainty for the parties.

   B. ACE Will Be Prejudiced if the Requested Stay Is Not Granted.

          The second factor examines potential prejudice to the movant if a stay is not granted and,

again, favors ACE. Without a stay, ACE may be forced to unnecessarily expend substantial

resources defending against a CFPB enforcement action that may not be pursued further. Indeed,

it is currently unclear whether the CFPB will consider prosecution of this case as consistent with




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its new enforcement priorities and when such a determination will be made. Without a stay of this

matter, ACE could be subject to further expenses and uncertainty.

    C. The CFPB Will Not Be Prejudiced by a Stay.

        The third factor examines the prejudice to the non-movant, of which there is none. As

stated, a stay will only benefit the CFPB by allowing it to achieve alignment on its enforcement

priorities and strategy related to forthcoming findings and a recommendation from Magistrate

Judge McKay. Further, the CFPB admits that ACE has already voluntarily ceased or sought to

address the purported violations alleged in the Complaint. (See Compl. ¶¶ 35, 38, 51, 56.) The

Bureau seeks no immediate or emergency injunctive relief; it only seeks money penalties,

customer redress, and unspecified permanent injunctive relief.

        Accordingly, there is no harm to the CFPB in staying this matter until the Bureau provides

some indication of how it wishes to proceed moving forward.

                     IV.    CONCLUSION AND REQUESTED RELIEF

        For these reasons, ACE respectfully requests that the Court grant this motion and stay all

proceedings in the above-captioned action pending the Bureau’s decision to either continue

litigating or dismiss this matter. ACE respectfully requests any other relief to which it is justly

entitled.




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Dated: February 20, 2025

                                             Respectfully Submitted,


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                                CERTIFICATE OF CONFERENCE

        I hereby certify that I attempted to contact counsel for Plaintiff Consumer Financial

Protection Bureau by email on February 14 and February 15, 2025 regarding the relief requested

in Populus’s Motion to Stay and received no response. On February 14, 2025, I emailed the

Bureau’s counsel of record asking if the CFPB would oppose a motion to stay this case but received

a bounce-back message instructing me to contact a different CFPB attorney, Michael Posner. On

February 15, 2025, I posed this same question to Mr. Posner by email. But, to date, I have received

no response from anyone at the CFPB.

                                                          /s/ Chris J. Willis
                                                          Chris J. Willis




                                   CERTIFICATE OF SERVICE

        I hereby certify that on February 20, 2025, I electronically filed the above Motion to Stay

with the Clerk of the Court using the CM/ECF system, which will automatically send email

notification of such filing to all attorneys of record.


                                                          /s/ Angela C. Zambrano
                                                          Angela C. Zambrano




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